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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION


MICHAEL RIVERS,

      Plaintiff,

v.                                            CASE NO.: 1:20cv107-MW/GRJ

ZENO OFFICE SOLS.,

     Defendant.
___________________________/

                     ORDER ACCEPTING AND ADOPTING
                      REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 13. Upon consideration, no objections having

been filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted as this Court’s

opinion. Defendant’s Motion to Dismiss, ECF No. 6, which has been converted to

a motion for summary judgment is GRANTED. The Clerk shall enter judgment

stating, “Plaintiff’s claim against Defendant is dismissed.”
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The Clerk shall also close the file.

      SO ORDERED on November 2, 2020.
                             s/Mark E. Walker
                             Chief United States District Judge




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